       Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 1 of 14




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

WILLIAM SPILLMAN and                          )
KATRINA GARCIA SPILLMAN,                      )
                                              )
                      Plaintiffs,             )     Case no. 1:19-CV-660-KK-LF
                                              )
               v.                             )
                                              )
VERIZON WIRELESS SHORT TERM                   )
DISABILITY PLAN, METROPOLITAN                 )
LIFE INSURANCE COMPANY, and                   )
CELLCO PARTNERSHIP D/B/A                      )
VERIZON WIRELESS,                             )
                                              )
                      Defendants.             )


             ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS


               Now come Defendants Verizon Wireless Short Term Disability Plan (the “Plan”)

and Cellco Partnership d/b/a Verizon Wireless (“Verizon Wireless”), by and through their

undersigned counsel, and file the following Answer and Affirmative Defenses to Plaintiff’s

Complaint:

                                           ANSWER

                      Answer to Jurisdictional and Venue Allegations

               1.     The allegations set forth in paragraph 1 of the First Amended Complaint

are admitted, on information and belief.

               2.     As answer to paragraph 2 of the Complaint, the Plan and Verizon Wireless

(hereinafter the “Verizon Wireless Defendants”) admit that the Plan is a welfare benefit plan

which provides short term disability benefits to eligible employees who meet the Plan’s terms

and conditions, including persons who are employed by Verizon Wireless in New Mexico. The

remaining allegations set forth in paragraph 2 of the First Amended Complaint are denied.
        Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 2 of 14




               3.      As answer to paragraph 3 of the First Amended Complaint, the Verizon

Wireless Defendants state that after reasonable investigation they are without sufficient

information to admit or deny the allegations in paragraph 3 of the First Amended Complaint.

               4.      The allegations set forth in paragraph 4 of the First Amended Complaint

are admitted, except Cellco Partnership is a Delaware corporation, not a New Jersey corporation.

               5.      As answer to paragraph 5 of the First Amended Complaint, the Verizon

Wireless Defendants admit that employees of Verizon Wireless who are covered by the Plan

include persons employed in New Mexico. The remaining allegations set forth in paragraph 5 of

the First Amended Complaint constitute conclusions of law to which no response is required.

               6.      The allegations set forth in paragraph 6 of the First Amended Complaint

constitute conclusions of law to which no response is required. As further response, the Verizon

Defendants admit that this Court has subject matter jurisdiction in this case.

                              Answer to Substantive Allegations

               1.      As answer to paragraph 1 of the First Amended Complaint, the Verizon

Wireless Defendants admit that by virtue of his employment by Verizon Wireless, William

Spillman was covered by the Plan. The remaining allegations set forth in paragraph 1 of the First

Amended Complaint are denied.

               2.      The allegations set forth in the first sentence of paragraph 2 of the First

Amended Complaint purport to paraphrase or characterize the terms of a written document

which speaks for itself. As answer to the second sentence of paragraph 2 of the First Amended

Complaint, the Verizon Wireless Defendants admit that the Plan was in force in July, 2016; that

William Spillman was covered by the Plan by virtue of his employment by Verizon Wireless;




                                                  2
        Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 3 of 14




and that benefits under the Plan are self-funded. The remaining allegations set forth in paragraph

2 of the First Amended Complaint are denied.

                3.     The allegations set forth in paragraph 3 of the First Amended Complaint

are denied.

                4.     The allegations set forth in paragraph 4 of the First Amended Complaint

are denied.

                5.     The allegations set forth in paragraph 5 of the First Amended Complaint

are admitted.

                6.     The allegations set forth in paragraph 6 of the First Amended Complaint

are denied, inasmuch as these allegations purport to characterize or partially quote the terms of a

written document which speaks for itself.

                7.     The allegations set forth in paragraph 7 of the First Amended Complaint

are denied, inasmuch as these allegations purport to characterize or partially quote the terms of a

written document which speaks for itself.

                8.     As answer to paragraph 8 of the First Amended Complaint, the Verizon

Wireless Defendants admit that William Spillman was absent from work on July 23, 2016. The

Verizon Wireless Defendants are without knowledge or information sufficient to form a belief as

to the truth of the remaining allegations set forth in paragraph 8 of the First Amended Complaint,

and these allegations are therefore denied.

                9.     As answer to paragraph 9 of the First Amended Complaint, the Verizon

Wireless Defendants admit that William Spillman was absent from work on July 24, 25 and 26,

2016. The Verizon Wireless Defendants are without knowledge or information sufficient to




                                                 3
        Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 4 of 14




form a belief as to the truth of the remaining allegations set forth in paragraph 9 of the First

Amended Complaint, and these allegations are therefore denied.

                10.     The Verizon Wireless Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations set forth in paragraph 10 of the First

Amended Complaint, and these allegations are therefore denied.

                11.     The Verizon Wireless Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations set forth in paragraph 11 of the First

Amended Complaint, and these allegations are therefore denied.

                12.     As answer to paragraph 12 of the First Amended Complaint, the Verizon

Wireless Defendants admit that William Spillman was absent from work on the dates listed in

paragraph 12. The Verizon Wireless Defendants are without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations set forth in paragraph 12 of

the First Amended Complaint, and these allegations are therefore denied.

                13.     As answer to paragraph 13 of the First Amended Complaint, the Verizon

Wireless Defendants admit that William Spillman applied for a family medical leave. The

remaining allegations set forth in paragraph 13 of the First Amended Complaint are denied.

                14.     The allegations set forth in paragraph 14 of the First Amended Complaint

are admitted, on information and belief.

                15.     The allegations set forth in paragraph 15 of the First Amended Complaint

are denied.

                16.     The allegations set forth in paragraph 16 of the First Amended Complaint

are denied.




                                                   4
        Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 5 of 14




                17.     As answer to paragraph 17 of the First Amended Complaint, the Verizon

Defendants admit that William Spillman’s claim for short term disability benefits was denied by

Metropolitan Life Insurance Company (“MetLife”). The Verizon Wireless Defendants are

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations set forth in paragraph 17 of the First Amended Complaint, and these allegations are

therefore denied.

                18.     As answer to paragraph 18 of the First Amended Complaint the Verizon

Defendants admit, on information and belief, that an appeal was submitted on Mr. Spillman’s

behalf from MetLife’s initial determination denying his claim for benefits under the Plan. The

Verizon Wireless Defendants are without knowledge or information sufficient to form a belief as

to the truth of the remaining allegations set forth in paragraph 18 of the First Amended

Complaint, and these allegations are therefore denied.

                19.     The Verizon Wireless Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations set forth in paragraph 19 of the First

Amended Complaint, and these allegations are therefore denied. As further answer, the Verizon

Wireless Defendants admit that Mr. Spillman has exhausted his appeal rights relating to

MetLife’s determinations denying his claim for benefits under the Plan.

                20.     The allegations set forth in paragraph 20 of the First Amended Complaint

are denied.

                21.     As answer to paragraph 21 of the First Amended Complaint the Verizon

Defendants admit MetLife has continued to deny Mr. Spillman’s claim for benefits under the

Plan.




                                                   5
        Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 6 of 14




                22.     The Verizon Wireless Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations set forth in paragraph 22 of the First

Amended Complaint, and these allegations are therefore denied.

                23.     The allegations set forth in paragraph 23 of the First Amended Complaint

are admitted.

                24.     The allegations set forth in paragraph 24 of the First Amended Complaint

are admitted.

                25.     As answer to paragraph 25 of the First Amended Complaint, the Verizon

Wireless Defendants admit that Verizon Wireless has delegated to MetLife the discretionary

authority to process claims for benefits under the Plan; to investigate and determine eligibility for

benefits under the Plan; to decide whether a claimant is disabled according to the terms of the

Plan; and to handle and decide any disability claim appeal requests. The remaining allegations

set forth in paragraph 25 of the First Amended Complaint are denied.

                26.     As answer to paragraph 26 of the First Amended Complaint, the Verizon

Wireless Defendants admit that Verizon Wireless is the sponsor of the Plan; that Cellco

Partnership d/b/a Verizon Wireless is a participating employer under the Plan; and that Cellco

Partnership does business as Verizon Wireless. The remaining allegations set forth in paragraph

26 of the First Amended Complaint constitute conclusions of law to which no response is

required.

                27.     As answer to paragraph 27 of the First Amended Complaint, the Verizon

Wireless Defendants admit that William Spillman was covered by the Plan by virtue of his

employment by Verizon Wireless. The remaining allegations set forth in paragraph 27 of the




                                                   6
       Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 7 of 14




First Amended Complaint are denied, inasmuch as these allegations purport to characterize a

written document which speaks for itself.

              28.     As answer to paragraph 28 of the First Amended Complaint, the Verizon

Wireless Defendants admit that William Spillman was covered by the Plan by virtue of his

employment by Verizon Wireless. The remaining allegations set forth in paragraph 28 of the

First Amended Complaint are denied.

              29.     The allegations set forth in paragraph 29 of the First Amended Complaint

are denied.

              30.     The allegations set forth in paragraph 30 of the First Amended Complaint

are denied.

              31.     The allegations set forth in paragraph 31 of the First Amended Complaint

are denied.

              32.     The allegations set forth in paragraph 32 of the First Amended Complaint

are denied.

              33.     The allegations set forth in paragraph 33 of the First Amended Complaint

are denied.

              34.     The allegations set forth in paragraph 34 of the First Amended Complaint

are denied.

              35.     As answer to paragraph 35 of the First Amended Complaint, the Verizon

Defendants incorporate by reference their answers to paragraphs 1-31 herein.

              36.     Paragraph 36 of the First Amended Complaint includes allegations which

relate to claims asserted against defendants other than the Verizon Wireless Defendants. As




                                               7
        Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 8 of 14




further response, the Verizon Defendants state that the allegations set forth in paragraph 36 of the

First Amended Complaint constitute conclusions of law to which no response is required.

               37.        Paragraph 37 of the First Amended Complaint includes allegations which

relate to claims asserted against defendants other than the Verizon Wireless Defendants. As

further response, the Verizon Defendants state that they lack sufficient knowledge to form a

belief as to the truth of the allegations set forth in paragraph 37 of the First Amended Complaint.

               38.        Paragraph 38 of the First Amended Complaint includes allegations which

relate to claims asserted against defendants other than the Verizon Wireless Defendants. As

further response, the Verizon Defendants state that they lack sufficient knowledge to form a

belief as to the truth of the allegations set forth in paragraph 38 of the First Amended Complaint.

               39.        As answer to paragraph 39 of the First Amended Complaint (which is

erroneously numbered as the second paragraph 35), the Verizon Defendants incorporate by

reference their answers to paragraphs 1-38 herein.

               40.        The allegations set forth in paragraph 40 of the First Amended Complaint

(which is erroneously numbered as the second paragraph 36), constitute conclusions of law to

which no response is required. To the extent paragraph 40 contains any factual allegations, those

allegations are denied.

               41.        The allegations set forth in paragraph 41 of the First Amended Complaint

(which is erroneously numbered as the second paragraph 37), constitute conclusions of law to

which no response is required. To the extent paragraph 41 contains any factual allegations, those

allegations are denied.

               42.        As answer to paragraph 42 of the First Amended Complaint (which is

erroneously numbered as the second paragraph 38), the Verizon Wireless Defendants admit (a)



                                                   8
        Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 9 of 14




that the Plan is a self-funded plan sponsored by Verizon Wireless for its eligible employees; and

(b) that Verizon Wireless has delegated to MetLife the discretionary authority to process claims

for benefits under the Plan; to investigate and determine eligibility for benefits under the Plan; to

decide whether a claimant is disabled according to the terms of the Plan; and to handle and

decide any disability claim appeal requests. The remaining allegations set forth in paragraph 42

of the First Amended Complaint are denied.

               43.     As answer to paragraph 43 of the First Amended Complaint (which is

erroneously numbered as paragraph 39), the Verizon Wireless Defendants admit that William

Spillman was covered by the Plan by virtue of his employment by Verizon Wireless. The

remaining allegations set forth in paragraph 43 of the First Amended Complaint are denied,

inasmuch as these allegations purport to characterize a written document which speaks for itself.

               44.     As answer to paragraph 44 of the First Amended Complaint (which is

erroneously numbered as paragraph 40), the Verizon Wireless Defendants admit that William

Spillman was covered by the Plan by virtue of his employment by Verizon Wireless. The

remaining allegations set forth in paragraph 44 of the First Amended Complaint are denied.

               45.     As answer to paragraph 45 of the First Amended Complaint (which is

erroneously numbered as paragraph 41), the Verizon Wireless Defendants admit that William

Spillman made a claim for benefits under the Plan which was denied by MetLife, and that he has

exhausted the Plan’s appeal procedures. The remaining allegations set forth in paragraph 45 of

the First Amended Complaint are denied.

               46.     The allegations set forth in paragraph 46 of the First Amended Complaint

(which is erroneously numbered as paragraph 42) are denied.




                                                  9
       Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 10 of 14




               47.    The allegations set forth in paragraph 47 of the First Amended Complaint

(which is erroneously numbered as paragraph 43) are denied.

               48.    The allegations set forth in paragraph 48 of the First Amended Complaint

(which is erroneously numbered as paragraph 44) are denied.

               49.    The allegations set forth in paragraph 49 of the First Amended Complaint

(which is erroneously numbered as paragraph 45) are denied.

               50.    The allegations set forth in paragraph 50 of the First Amended Complaint

(which is erroneously numbered as paragraph 46) are denied.

               51.    The allegations set forth in paragraph 51 of the First Amended Complaint

(which is erroneously numbered as paragraph 47) are denied.

               52.    The allegations set forth in paragraph 52 of the First Amended Complaint

(which is erroneously numbered as paragraph 48) are denied.

               53.    The allegations set forth in paragraph 53 of the First Amended Complaint

(which is erroneously numbered as paragraph 49) are denied.

               54.    The allegations set forth in paragraph 54 of the First Amended Complaint

(which is erroneously numbered as paragraph 50) are denied.

               55.    As answer to paragraph 55 of the First Amended Complaint (which is

erroneously numbered as paragraph 51), the Verizon Wireless Defendants admit that MetLife

denied Mr. Spillman’s claim for benefits under the Plan, and has not paid such benefits to Mr.

Spillman. The remaining allegations set forth in paragraph 55 of the First Amended Complaint

are denied.

               56.    The allegations set forth in paragraph 56 of the First Amended Complaint

(which is erroneously numbered as paragraph 52) are denied.



                                               10
       Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 11 of 14




               57.     The allegations set forth in paragraph 57 of the First Amended Complaint

(which is erroneously numbered as paragraph 53) are denied.

               58.     The allegations set forth in paragraph 58 of the First Amended Complaint

(which is erroneously numbered as paragraph 54) are denied.

               59.     The allegations set forth in paragraph 59 of the First Amended Complaint

(which is erroneously numbered as a third paragraph 37) are denied.

               60.     The allegations set forth in paragraph 60 of the First Amended Complaint

(which is erroneously numbered as a second paragraph 25) are denied.

               61.     All allegations in the First Amended Complaint not specifically admitted

herein are denied.

                               FIRST AFFIRMATIVE DEFENSE

               The claims asserted by Plaintiffs in the First Amended Complaint fail to state a

claim upon which relief may be granted.

                             SECOND AFFIRMATIVE DEFENSE

               The claims asserted by Plaintiffs in the First Amended Complaint are barred by

virtue of the fact that under the Plan, Verizon Wireless has discretionary authority to determine

benefit eligibility and to construe the terms of the Plan, and Verizon Wireless has delegated such

discretionary authority to MetLife in accordance with the terms of the Plan.

                               THIRD AFFIRMATIVE DEFENSE

               The claims asserted by Plaintiffs in the First Amended Complaint are barred by

virtue of the fact that MetLife administered the Plan according to its terms.

                             FOURTH AFFIRMATIVE DEFENSE

               The claims asserted by Plaintiffs in the First Amended Complaint are barred by

virtue of the fact that MetLife did not act arbitrarily or capriciously.

                                                  11
       Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 12 of 14




                               FIFTH AFFIRMATIVE DEFENSE

               The claims asserted in Plaintiffs First Amended Complaint are barred in whole or

in part by virtue of the fact that benefits under the Policy are subject to reduction and/or offset

based on Plaintiff’s actual or constructive receipt of other benefits or income from other sources,

as defined in the Plan.

                               SIXTH AFFIRMATIVE DEFENSE

               To the extent any state law claims are asserted in the First Amended Complaint,

such claims are preempted by ERISA.

                            SEVENTH AFFIRMATIVE DEFENSE

               Any claims asserted by Mrs. Spillman in this action are barred because Mrs.

Spillman lacks standing to assert such claims.

                             EIGHTH AFFIRMATIVE DEFENSE

               Plaintiffs’ claims under Section 502(a)(3) of ERISA are barred because these

claims are duplicative of Mr. Spillman’s claim for benefits under Section 502(a)(1)(B) of

ERISA.

                              NINTH AFFIRMATIVE DEFENSE

               Any claims asserted by Mrs. Spillman in this action are barred because Mrs.

Spillman lacks standing to assert such claims.




               WHEREFORE, Defendants Cellco partnership d/b/a Verizon Wireless and the

Verizon Wireless Short Term Disability Plan request that judgment be entered in their favor with

respect to all claims asserted in Plaintiffs Complaint, and that they be awarded their costs and

attorneys’ fees in defending this action.

                                                  12
      Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 13 of 14




Dated: October 16, 2019                Respectfully submitted,

                                         /s/ D. Stuart Bartow
                                       D. Stuart Bartow
                                       Duane Morris LLP
                                       2475 Hanover St.
                                       Palo Alto, CA 94304-1194
                                       Phone: (650) 847-4146
                                       Fax: (650) 618-8505
                                       DSBartow@duanemorris.com

                                       James P. Hollihan
                                       Duane Morris LLP
                                       600 Grant St., Suite 5010
                                       Pittsburgh, PA 15219
                                       Phone: (412) 497-1040
                                       Fax: (412) 202-4508
                                       JPHollihan@duanemorris.com

                                       Attorneys for Defendant,
                                       Cellco Partnership d/b/a Verizon Wireless and
                                       the Verizon Wireless Short term Disability
                                       Plan




                                     13
         Case 1:19-cv-00660-RB-LF Document 31 Filed 10/16/19 Page 14 of 14




                                 CERTIFICATE OF SERVICE

                I hereby that on this 16th day of October, 2019 a true and correct copy of the

foregoing Answer and Defenses was served by operation of the Court’s electronic filing system

upon the following counsel of record:

                       Penelope Quintero, Esquire
                       Davis Miles McGuire Gardner PLLC.
                       300 Gold Ave. SW, Suite 1111
                       P.O. Box 652
                       Albuquerque, NM 87102
                       pquintero@davismile.com

                       Little V. West, Esquire
                       Holland & Hart LLP
                       P.O. Box 2208
                       Santa Fe, NM 87504
                       lwest@hollandhart.com

                       Jack M. Englert, Jr. Esquire
                       Holland & Hart LLP
                       6380 S. Fiddler’s Green Circle, Suite 500
                       Greenwood Village, CO 80111
                       jenglert@hollandhart.com



                                                       /s/ D. Stuart Bartow




DM2\4993975.2
